                Case 19-81146-SKH                   Doc 5        Filed 08/02/19 Entered 08/02/19 08:46:59                               Desc Main
    PAPILLION-LAVISTA PUBLIC SCHOOLS                             Document      Page 1 of 1
    420 SO. WASHINGTON ST                                                                                                      CHECK DATE         CHECK NO.
    PAPILLION,NE 68046-                                                                                                       6/14/2019         V284614




                   Copy
          PAY *******************VOID CHECK***************
                                                                                                                  AMOUNT
                                                                                                                                     Copy
                                                                                                                                        ***********



   TO THE       APRILBIE QUIZAN BUNTING
   ORDER
   OF           11840 S 73RD CT APT 309
                PAPILLION, NE
                68046




  CREATED BY EMPLOYEE ACCESS CENTER                                                       Location         Employee No. Period Ending    Check No. Check Date
Statement of Earnings and Deductions                                                                 146        101461   6/30/2019         V284614 6/14/2019
                           Earnings                                                          Employee Deductions                     Employer Contributions
 Description    Hours       Rate           Current           Year to Date   Description        Current         Year to Date         Current        Year to Date
ELEMENTARY FO    49.37          12.53            618.58         3,186.83 FICA                          38.35           199.51             38.35            199.51
ILLNESS                                             .00            31.33 MEDICARE                       8.97            46.65              8.97             46.65
                                                                         DIRECT DEP                   571.26         2,972.00               .00              0.00




 Totals          49.37                           618.58         3,218.16    Totals                     618.58        3,218.16             47.32            246.16

     Leave        Earned          Taken        End Balance                   Direct Deposit Information                                    Net Pay
                                                                                                                                                              0.00
SICK/FAMIL              16.00           2.50       13.50 VERIDIAN CREDIT UNION                                       571.26
PERSONAL                 4.00           2.00        2.00                                                                                    Employee
MISC.                    0.00           0.00        0.00                                                                                     APRILBIE BUNTING
                                                                                                                                         Tax Information
                                                                                                                                                   Fed     State
                                                                                                                                MARITAL STATUS      M        M
                                                                                                                                EXEMPTIONS          4        4


 Notes:
